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                                           U NI T E D S T A T E S DI S T RI C T C O U R T
                                             DI S T RI C T O F S O U T H D A K O T A
                                                    W E S T E R N DI VI SI O N


 U NI T E D S T A T E S O F A M E RI C A                                         5: 2 0 - C R-5 0 1 2 2
              Pl ai ntiff                                              N O TI C E O F A P P E A L R E M A GI S T R A T E
                      v.                                               M A GI S T R A T E D U F F Y’ S D E NI A L
                                                                       O F D E F E N D A N T ’S M O TI O N T O C O M P E L
 KI M B E R L E E PI T A W A N A K W A T                               D O C K E T N O.’s 2 5 1 A N D 2 4 7 T O DI S T RI C T
              D ef e n d a nt                                          C O U R T J U D G E PI E R S O L




                                E X HI BI T B




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                                                                       Kimberlee Pitawanakwat <kimberlee.pitankwt@gmail.com>



         U.S. v. Kimberlee Pitawanakwat 520CR50122
         7 messages

         Kimberlee Pitawanakwat <kimberlee.pitankwt@gmail.com>                                            Wed, Jun 14, 2023 at 1:19 PM
         To: shaunna_tellinghuisen@sdd.uscourts.gov

           Dear Shaunna,

           Thank you very much for explaining something about the separate CJA voucher system for experts and investigation
           requests. Attached is the estimate I received from Mr. John Nixon regarding his testing of the spent bullet at issue in
           my case, plus a copy of what I filed, via Standby counsel yesterday, which contains a declaration from Mr. Nixon and
           his CV. I am not sure whether you need that or not, but it explains the basis for this request and also why it has been
           so delayed, so I wish to include it. I note that Mr. Nixon wishes to have the spent bullet shipped to him via Fed Ex or
           UPS tracked mail and has a secure vault to store it that is electronically monitored at all times.

           I will send a letter to AUSA Sazama asking for her position on the shipment of the bullet, since if she refuses I assume
           that I will have to file a motion with the court for an order, or additional funds to allow Mr. Nixon to travel to a suitable
           facility where he can examine it.

           The original estimate I provided the Court was high, I think because Mr. Nixon was planning to review the discovery
           and undertake additional work, but this is a more limited engagement.

           Thanks again for your assistance and please let me know of any errors I am making or additional information you
           need from me.

           Respectfully,


           Kimberlee Pitawanakwat



            2 attachments
                Motion for Expert Funds.pdf
                10677K
                Estimate 13 June 2023.pdf
                438K


         Shaunna Tellinghuisen <Shaunna_Tellinghuisen@sdd.uscourts.gov>                                   Wed, Jun 14, 2023 at 2:31 PM
         To: Kimberlee Pitawanakwat <kimberlee.pitankwt@gmail.com>


           Good Afternoon,



           The statutory maximum for expert services is $2800. If an expert is going to exceed that amount the attached form
           needs to be submitted in addition to all other materials. These requests are reviewed by the 8th circuit and they
           require this form.



           Please complete and return to me and I will get you request submitted.




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           https://www.sdd.uscourts.gov/content/cja-advance-authorization-attorney-signature



           Please call if you have any questions.




           From: Kimberlee Pitawanakwat <kimberlee.pitankwt@gmail.com>
           Sent: Wednesday, June 14, 2023 2:20 PM
           To: Shaunna Tellinghuisen <Shaunna_Tellinghuisen@sdd.uscourts.gov>
           Subject: U.S. v. Kimberlee Pitawanakwat 520CR50122




           CAUTION - EXTERNAL:

           [Quoted text hidden]


            CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
            attachments or clicking on links.




         Kimberlee Pitawanakwat <kimberlee.pitankwt@gmail.com>                                     Wed, Jun 14, 2023 at 3:05 PM
         To: Shaunna Tellinghuisen <Shaunna_Tellinghuisen@sdd.uscourts.gov>

           Thank you, will do.
           [Quoted text hidden]


            2 attachments


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         Kimberlee Pitawanakwat <kimberlee.pitankwt@gmail.com>                                          Wed, Jun 14, 2023 at 3:36 PM
         To: Shaunna Tellinghuisen <Shaunna_Tellinghuisen@sdd.uscourts.gov>

           Shaunna,

           Thanks, please see the attached completed evoucher for the 8th Circuit providing additional information. Please let
           me know if you think this is sufficient or whether I need additional information.

           Respectfully,

           Kimberlee Pitawanakwat
           [Quoted text hidden]


                 Nixon E Voucher Advance Authorization Attorney Signature eVoucher (Recovered).rtf
                 3K


         Shaunna Tellinghuisen <Shaunna_Tellinghuisen@sdd.uscourts.gov>                                Thu, Jun 15, 2023 at 10:50 AM
         To: Kimberlee Pitawanakwat <kimberlee.pitankwt@gmail.com>


           I have submitted your request for expert to the District Judge.



           If/when the request is approved it will then go to the 8th circuit for approval since the requested amount exceeds the
           statutory maximum of $2800.



           If/when the 8th circuit approves the request I will then let you know that they funds have been approved.



           Please let me know if you have any questions.

           [Quoted text hidden]



         Kimberlee Pitawanakwat <kimberlee.pitankwt@gmail.com>                                         Thu, Jun 15, 2023 at 10:57 AM
         To: Shaunna Tellinghuisen <Shaunna_Tellinghuisen@sdd.uscourts.gov>

           Thank you for the update.
           [Quoted text hidden]


            3 attachments


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                                                     image001.png
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         Shaunna Tellinghuisen <Shaunna_Tellinghuisen@sdd.uscourts.gov>                                Thu, Jun 15, 2023 at 2:02 PM
         To: Kimberlee Pitawanakwat <kimberlee.pitankwt@gmail.com>


           Your request has been approved by the District Judge.



           You request for ballistics expert is now pending approval by the 8th circuit judge.

           [Quoted text hidden]




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                                                   U NI T E D S T A T E S DI S T RI C T C O U R T
                                                      DI S T RI C T O F S O U T H D A K O T A
                                                               W E S T E R N DI VI SI O N


 U NI T E D S T A T E S O F A M E RI C A                                                           5: 2 0 - C R-5 0 1 2 2
                  Pl ai ntiff                                                         M O TI O N F O R CJ A F U N DI N G T O R E T AI N
                          v.                                                          F O R E N SI C FI R E A R M S A N D B A L LI S TI C S
                                                                                       E XPE RT A N D O R DE R F O R E XPE RT
 KI M B E R L E E PI T A W A N A K W A T                                              A C C E S S T O T H E DI S C O V E R Y A N D
                  D ef e n d a nt                                                      E VI D E N C E




 Ki m b erl e e Pit a w a n a k w at
 2 6 2 1 4 F ost er R o a d
 M o nr o e, O R 9 7 4 5 6
 ki m b erl e e. pit a n k wt @ g m ail. c o m

 T h e H o n or a bl e Ver o ni c a L. D uff y
 U nit e d St at es M a gistr at e J u d g e
 4 0 0 S. P hilli ps A v e n u e R o o m 1 1 9
 Si o u x F alls, S D 5 7 1 0 4.


 R e: M oti o n f or CJ A f u n di n g t o R et ai n F or e nsi c Fir e ar ms a n d B allisti cs E x p ert a n d Or d er F or D ef e ns e

 A c c ess t o t h e Dis c o v er y a n d E vi d e n c e f or t h e f oll o wi n g r e as o ns:



 I, Ki m b erl e e Pit a w a n a k w at , t h e D ef e n d a nt i n t h e a b o v e c a pti o n e d c as e, r es p e ctf ull y m o v es t his H o n or a bl e

 C o urt f or Cri mi n al J usti c e A ct f u n ds t o r et ai n Mr. J o h n Ni x o n, a b allisti cs e x p ert a n d f or a n Or d er

 dir e cti n g t h e G o v er n m e nt t o pr o vi d e Mr. Ni x o n n e c ess ar y a c c ess t o all dis c o v er y a n d p h ysi c al e vi d e n c e

 n e c ess ar y f or n o n -d estr u cti v e t esti n g , i n cl u di n g t h e s p e nt b ull et a n d f or t h e f oll o wi n g r e as o ns:

        1.    Mr. Ni x o n is a q u alifi e d e x p ert i n fir e ar ms a n d b allisti cs. Pl e as e s e e Mr. Ni x o n’s D e cl ar ati o n a n d

              C urri c ul u m Vit a e, att a c h e d t o t his M oti o n as E x hi bit A.



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    2.   I first l o c at e d Mr. Ni x o n i n a p pr o xi m at el y S e pt e m b er or O ct o b er 2 0 2 1 w h e n I w as r e pr es e nt e d

         b y Mr. M c C o y.         Mr. M c C o y t ol d m e t h at h e w o ul d fil e a m oti o n t o r et ai n a n e x p ert if I c o ul d

         l o c at e s o m e o n e s uit a bl e.   Wit h s o m e assist a n c e I w as a bl e t o l o c at e Mr. Ni x o n a n d as k hi m a b o ut

         w or ki n g o n t h e c as e.     Mr. Ni x o n w as willi n g t o assist a n d t h e n s p o k e t o Mr. M c C o y a b o ut

         e v al u ati n g t h e s p e nt b ull et t h at w as l o c at e d i n t h e all e g e d vi cti m’s v e hi cl e i n t h e fr o nt p ass e n g er

         f o ot w ell.     Mr. M c C o y e v e nt u all y r ef us e d t o fil e t h e m oti o n a n d m a d e all ki n ds of e x c us es w h y h e

         w o ul d n ot d o s o, e v e n t h o u g h I t ol d hi m t h at I w a nt e d t o c o n d u ct t h e t esti n g.

    3.   Mr. Ni x o n h as pr o vi d e d a D e cl ar ati o n, w hi c h is att a c h e d t o t his M oti o n, e x pl ai ni n g t h at h e

         “ c o m m u ni c at e d t o Mr. M c C o y t h at it w o ul d b e p ossi bl e t o disti n g uis h a pist ol b ull et fr o m a rifl e

         b ull et a n d t h at mi cr os c o pi c e x a mi n ati o n c o ul d r es ult i n a s h ort list of br a n ds a n d m o d els of

         fir e ar ms t h at c o ul d h a v e fir e d t h at b ull et., ” s e e D ef e n d a nt’s E x hi bit A, p a g e 1, p ar a gr a p h 5. T his

         c o m m u ni c ati o n t o o k pl a c e i n O ct o b er 2 0 2 1, b ut I w as c o m pl et el y u n a bl e t o g et Mr. M c C o y t o

         fil e s u c h a m oti o n or t h e n l at er wit h Mr. Dris c oll w h o w o ul d n ot e v e n dis c uss it wit h m e, e v e n

         t h o u g h I s e nt hi m a fi v e-p a g e l ett er wit h o utst a n di n g w or k t h at n e e d e d t o b e d o n e o n m y c as e t o

         pr e p ar e f or tri al. It is p ossi bl e t h at Mr. Dris c oll w as t o o b us y wit h ot h er c as es h e w as w or ki n g o n .

    4.   Att a c h e d t o t his M oti o n is D ef e n d a nt’s E x hi bit B, w hi c h is t h e l ett er I s e nt Mr. Dris c oll o n A pril

         2 1, 2 0 2 3, s etti n g o ut t h e n e c ess ar y w or k o n m y c as e, i n cl u di n g r ef er e n c es t o r et ai ni n g Mr. Ni x o n

         t o c o n d u ct f or e nsi c t esti n g, i n cl u di n g t esti n g t h e s p e nt b ull et, pl e as e s e e p a g e 2 a n d 3 of E x hi bit

         B w h er e I d et ail a n u m b er of st e ps n e c ess ar y t o g et t h e c as e r e a d y f or tri al.         It t o o k m e a l o n g

         ti m e t o writ e t h e l ett er, w hi c h I b e g a n i n M ar c h b ut w as si c k wit h C O VI D a n d fi n all y s e nt it b y

         c ertifi e d m ail i n A pril. I w o ul d h a v e s e nt it b y e m ail b ut u nf ort u n at el y , at t h at ti m e, Mr. Dris c oll

         r ef us ed t o a c c ept e m ails fr o m cli e nts . I r e c ei v e d n o r es p o ns e t o m y l ett er fr o m Mr. Dris c oll.

    5.   I nst e a d, o n M a y 2 6, 2 0 2 3, Mr. Dris c oll vi ol at e d m y Att or n e y Cli e nt Pri vil e g e b y writi n g a f o ur-

         p a g e l ett er t o M a gistr at e J u d g e W oll m a n n, p ers o n all y att a c ki n g m e, a n d pr es e nti n g i n a c c ur at e

         i nf or m ati o n t o t h e C o urt. At a p pr o xi m at el y t h e s a m e ti m e t h at Mr. Dris c oll s e nt t his l ett er t o t h e

         C o urt, M a gistr at e J u d g e W oll m a n n iss u e d a n or d er s u g g esti n g t h at I mi g ht b e usi n g “ a b usi v e ” or

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         “ d el a yi n g t a cti cs. ” Ulti m at el y J u d g e W oll m a n n i n d e p e n d e ntl y d e ci d e d t o r e c us e h ers elf fr o m t h e

         c as e. H o w e v er, t h e c o m m u ni c ati o ns att a c h e d t o t his M oti o n m a k e cl e ar t h at I h a v e c o nsist e ntl y

         d o n e e v er yt hi n g I c a n t o m o v e t his c as e a h e a d a n d g et t h e w or k n e e d e d d o n e t o pr e p ar e m y c as e

         f or tri al.

    6.   I n Mr. Dris c oll’s l ett er, E x hi bit C, Mr. Dris c oll s a ys:

                    “ Ms. Pit a w a n a k w at als o cl ai ms t h at I h a v e r ef us e d “t o g et t h e e vi d e n c e t est e d. ” T h at

                    st at e m e nt is tr u e b ut is b e c a us e t h er e is n o e vi d e n c e, s u c h as t h e w e a p o n t h at Mr. D ull

                    K nif e all e g e dl y us e d t o ass a ult Ms. B ur g e e, t h at n e e ds t o b e t est e d i n or d er t o d ef e n d Ms.

                    Pit a w a n a k w at i n t h e G o v er n m e nt’s c as e a g ai nst h er. Ms. Pit a w a n a k w at als o cl ai ms t h at I

                    h a v e r ef us e d “t o fil e m oti o ns. ” T h at st at e m e nt is als o tr u e, b e c a us e I a m n ot a w ar e of a n y

                    iss u es f or w hi c h a n y m oti o ns n e e d t o b e pr e p ar e d a n d fil e d. Ms. Pit a w a n a k w at als o

                    cl ai ms t h at I r ef us e d “t o s u b p o e n a wit n ess es. ” Alt h o u g h t h e d e cisi o n ti m e f or r e q u esti n g

                    s u b p o e n as h as n ot y et arri v e d, I a m o nl y a w ar e of o n e p ot e nti al wit n ess w h o mi g ht n e e d

                    t o b e s u b p o e n a e d t o t estif y f or t h e d ef e ns e. Ms. Pit a w a n a k w at h as n ot t ol d m e

                    s p e cifi c all y of a n y o n e w h o s h e t hi n ks s h o ul d b e s u b p o e n a e d or e x pl ai n e d t o m e w h y s h e

                    t hi n ks t h eir t esti m o n y w o ul d b e h el pf ul. ” S e e E x hi bit C t o t his M oti o n p a g es t hr e e a n d

                    f o ur.

    7.   Mr. Dris c oll h as r e p e at e dl y misi nf or m e d t h e C o urt a n d pr o vi d e d i nf or m ati o n t h at is n ot a c c ur at e .

         T h er e ar e m a n y p ot e nti al wit n ess es t h at n e e d t o b e i nt er vi e w e d a n d s e v er al wit n ess es t h at I will

         n e e d t o c all at tri al f or t h e D ef e ns e. T h er e ar e s e v er al a d diti o n al m oti o ns t h at I pl a n t o fil e t h at

         ar e dir e ctl y r el e v a nt t o t h e d ef e ns e of t his c as e b ut ar e b e y o n d t h e s c o p e of t his m oti o n b ut ar e

         m att ers t h at I dis c uss e d wit h b ot h Mr. M c C o y a n d Mr. Dris c oll as c a n b e s e e n fr o m m y fi v e-p a g e

         l ett er t o Mr. Dris c oll. I als o h a v e e xt e nsi ve r e c or ds of m y c o m m u ni c ati o ns wit h Mr. M c C o y t h at

         I c a n pr o vi d e t o t h e C o urt t o est a blis h t h at a n y d el a y u p t o n o w h as b e e n c a us e d b y t h e

         d efi ci e n ci es of m y pri or c o urt a p p oi nt e d c o u ns el a n d ar e n ot attri b ut a bl e t o m e.



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    8.   F or e x a m pl e, I h a v e r e p e at e dl y r e q u est e d a c c ess t o a c o p y of Is ai a h Cr o w’s b o d y c a m f o ot a g e a n d

         d as h c a m f o ot a g e i n a f or m at t h at is vi e w a bl e t o m e. T h e pr e vi o us c o pi es h a v e n ot b e e n

         vi e w a bl e. I h a v e n ot r e q u est e d dir e ct a c c ess t o t his i nf or m ati o n b ut s u p er vis e d a c c ess at t h e

         F e d er al P u bli c D ef e n d ers offi c e h er e i n Or e g o n, w h er e I h a d alr e a d y vi e w e d e vi d e n c e f or

         a p pr o xi m at el y 2 0 pl us h o urs.

    9.   T h e ot h er misr e pr es e nt ati o ns i n Mr. Dris c oll’s l ett er t o t h e C o urt ar e b e y o n d t h e s c o p e of t his

         M oti o n. I h a v e r e q u est e d Mr. Dris c oll’s assist a n c e b y e m ail i n t h e fili n g of m oti o ns, w hil e m y

         m oti o n f or E C F a c c ess w as p e n di n g wit h t h e C o urt. Mr. Dris c oll h as n ot r es p o n d e d t o a n y of m y

         e m ails, b ut h e di d c o nt a ct m e d uri n g t h e pr e p ar ati o n of t his i nst a nt M oti o n a n d a d vi s ed m e t h at

         h e di d fil e m y M oti o n f or E C F a c c ess a n d t h at it w as gr a nt e d. I a m gr at ef ul f or his assist a n c e

         wit h t h at m att er a n d f or t h e C o urt ’s t ext or d er gr a nti n g t h e M oti o n .

    1 0. I c o nti n u e t o r e q u est Mr. Dris c oll’s assista n c e wit h t h e fili n g of m y Pr o S e M oti o ns u ntil I c a n b e

         pr o vi d e d wit h t h e cr e d e nti als n e c ess ar y t o all o w m e t o a c c ess t h e s yst e m , p arti c ul arl y gi v e n t h e

         c ur r e nt pr essi n g d e adli n es.

    1 1. Mr. Ni x o n pr e vi o usl y pr o vi d e d m e wit h a n esti m at e of $ 7, 0 0 0 t o u n d ert a k e all t h e w or k n ee d e d

         t o c o n d u ct t his t esti n g, w hi c h is n e c ess ar y f or t h e d ef e ns e of t his c as e. I t h er ef or e r es p e ctf ull y

         m o v e t his H o n or a bl e C o urt t o m a k e Cri mi n al J usti c e A ct f u n ds a v ail a bl e f or t his p ur p os e.

    1 2. C o ntr ar y t o Mr. Dris c oll’s a n d Mr. M c C o y ’s cl ai m s, t his w or k is ess e nti al t o pr es e nt a d ef e ns e at

         tri al. I n C o u nt I V of t h e I n di ct m e nt, I a m a c c us e d of m a ki n g a f als e st at e m e nt t o f or m er O S T P S

         CI P u c k ett. I n t h e G o v er n m e nt’s M e m or a n d u m i n O p p ositi o n t o D ef e n d a nt’s M oti o n t o S e v er,

         S e e D o c k et N o. 1 5 1 at t h e b ott o m of p a g e t hr e e a n d t o p of p a g e f o ur t h e G o v er n m e nt st at es:

                   “t h e d ef e n d a nt m a ki n g f als e r e p orts t o l a w e nf or c e m e nt t h at t h e c o -d ef e n d a nt h a d n ot

                   b e e n pr es e nt at t h eir s h ar e d r esi d e n c e o n t h e d at e of t h e all e g e d ass a ults a n d t h at n o

                   s h o oti n g o c c urr e d o n t h e pr o p ert y, w h e n t h e d ef e n d a nt k n e w t h os e st at e m e nts t o b e

                   u ntr u e. ”



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        1 3. It is cl e ar fr o m t h e G o v er n m e nt’s pl e a di n g t h at t h e y will att e m pt t o pr o v e t h at Mr. G e or g e D ull

              K nif e w as pr es e nt at t h e h o us e a n d t h at I w as a w ar e of a s h o oti n g o n t h e pr o p ert y. T h e

              G o v er n m e nt’s pri m ar y wit n ess i n t his c as e is a j ail h o us e i nf or m a nt n a m e d I a n D ull K nif e, w h o

              w as i nt er vi e w e d i n t h e j ail b y CI P u c k ett, a n d u p o n i nf or m ati o n a n d b eli ef r el e as e d fr o m j ail. I a n

              D ull K nif e’s st at e m e nt w as a u di o r e c or d e d . I a n D ull K nif e t ol d f or m er CI P u c k ett t h at h e

              wit n ess e d G e or g e D ull K nif e s h o ot at t h e B ur g e e v e hi cl e m ulti pl e ti m es wit h a n A R 1 5 rifl e a n d

              t h at h e s a w G e or g e D ull K nif e gi v e t h e A R 1 5 t o m e.

       1 4. If t esti n g c o n d u ct e d b y Mr. Ni x o n c a n est a blis h t h at t h e s p e nt b ull et ( w hi c h a p p e ar e d t o b e

              bl o o dst ai n e d fr o m t h e p h ot os I s a w i n dis c o v er y) f o u n d i n t h e B ur g e e v e hi cl e di d n ot c o m e fr o m

              a n A R 1 5 w e a p o n it will est a blis h t h at I a n D ull K nif e is l yi n g a b o ut t his cr u ci al f a ct a n d will

              c a us e ot h er si g nifi c a nt iss u es f or t h e G o v er n m e nt’s c as e. T h e s e ar c h w arr a nt iss u e d i n t his c as e

              w as f o u n d e d u p o n a pr o b a bl e c a us e affi d a vit fr o m a n F BI a g e nt w h o ass ert e d t h at t h e w e a p o n

              us e d i n t his s h o oti n g w as a n A R 1 5 rifl e, s o t esti n g b y Mr. Ni x o n m a y u n d er c ut t h e G o v er n m e nt’s

              pr o b a bl e c a us e f or t h e ori gi n al s e ar c h .

       1 5. T his M oti o n is m a d e t o c orr e ct t h e r e c or d pr e vi o usl y m a d e b y D ef e n d a nt’s c o urt a p p oi nt e d

              c o u ns el a n d est a blis h t h at D ef e n d a nt h as c o nsist e ntl y r e q u est e d i n v esti g ati o n a n d e x a mi n ati o n of

              t h e e vi d e n c e i n t his c as e t o pr e p ar e t h e c as e f or tri al. T his m oti on is n ot m a d e f or t h e p ur p os e of

              d el a y.



 W H E R E F O R E D ef e n d a nt p r a ys t his C o urt f or its Or d er f or Cri mi n al J usti c e A ct f u n ds t o r et ai n Mr. J o h n

 Ni x o n, a b allisti cs e x p ert a n d f or a n Or d er dir e cti n g t h e G o v er n m e nt t o pr o vi d e Mr. Ni x o n n e c ess ar y

 a c c ess t o all dis c o v er y a n d p h ysi c al e vi d e n c e n e c ess ar y f or n o n -d estr u cti v e t esti n g of t h e s p e nt b ull et.



 D at e d t his 1 3 t h d a y of J u n e 2 0 2 3


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 R es p e ctf ull y ,

 / s / Ki m berlee Pit a w a n a k w at

 Ki m b erl e e Pit a w a n a k w at
 2 6 2 1 4 F ost er R o a d
 M o nr o e, O R 9 7 4 5 6
 ki m b erl e e. pit a n k wt @ g m ail. c o m


 c c: H e at h er S a z a m a, Assist a nt U nit e d St at es Att or n e y, Distri ct of S o ut h D a k ot a, vi a e m ail:
 H e at h er. S a z a m a @ us d oj. g o v




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                                                 U NI T E D S T A T E S DI S T RI C T C O U R T
                                                     DI S T RI C T O F S O U T H D A K O T A
                                                             W E S T E R N DI VI SI O N


 U NI T E D S T A T E S O F A M E RI C A                                                  5: 2 0 - C R-5 0 1 2 2
                  Pl ai ntiff                                                   M O TI O N F O R CJ A F U N DI N G T O R E T AI N
                         v.                                                     F O R E N SI C FI R E A R M S A N D B A L LI S TI C S
                                                                                E XPE RT A N D O R DE R F O R E XPE RT
 KI M B E R L E E PI T A W A N A K W A T                                        A C C E S S T O T H E DI S C O V E R Y A N D
                 D ef e n d a nt                                                E VI D E N C E




 Ki m b erl e e Pit a w a n a k w at
 2 6 2 1 4 F ost er R o a d
 M o nr o e, O R 9 7 4 5 6
 ki m b erl e e. pit a n k wt @ g m ail. c o m

 T h e H o n or a bl e Ver o ni c a L. D uff y
 U nit e d St at es M a gistr at e J u d g e
 4 0 0 S. P hilli ps A v e n u e R o o m 1 1 9
 Si o u x F alls, S D 5 7 1 0 4.


 R e: M oti o n f or CJ A f u n di n g t o R et ai n F or e nsi c Fir e ar ms a n d B allisti cs E x p ert a n d Or d er F or D ef e ns e

 A c c ess t o t h e Dis c o v er y a n d E vi d e n c e :




                                       E X HI BI T A

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                                                  U NI T E D S T A T E S DI S T RI C T C O U R T

                                                      DI S T RI C T O F S O U T H D A K O T A

                                                               W E S T E R N DI VI SI O N

 U NI T E D S T A T E S O F A M E RI C A                                            :

 Pl ai ntiff                                                                        :

 v.                                                                                 :     C RI MI N A L C A S E # 5: 2 0 -C R -5 0 1 2 2

 KI M B E R L E E PI T A W A N A K W A T                                            :

 D ef e n d a nt                                                                    :



                                                    D E C L A R A TI O N O F J O H N NI X O N

                                                V al u e of P r oj e ctil e E vi d e n c e E x a mi n ati o n

       1.      M y n a m e is J o h n Ni x o n.

       2.      I a m a B o ar d C ertifi e d F or e nsi c E n gi n e eri n g S ci e ntist s p e ci ali zi n g i n w e a p o ns s yst e ms r es e ar c h

               & liti g ati o n s u p p ort. I h a v e t e c h ni c al e x p ertis e i n t h e ar e as of fir e ar ms, b allisti cs, a m m u niti o n,

               m u niti o ns, e x pl osi v es, a n d r el at e d ar e as. M y B o ar d C ertifi c ati o n is iss u e d b y t h e I nt er n ati o n al

               B o ar d of F or e nsi c E n gi n e eri n g S ci e n c es (I B F E S), a n or g a ni z ati o n A c cr e dit e d b y t h e F or e nsi c

               S p e ci alti es A c cr e dit ati o n B o ar d ( F S A B).

       3.      M y e d u c ati o n a n d e x p eri e n c e ar e s et f ort h i n m y C urri c ul u m Vit a e, d at e d D e c e m b er, 2 0 2 2, w hi c h

               is att a c h e d t o t his D e cl ar ati o n. I c ertif y t h at t h e i nf or m ati o n wit hi n t h at d o c u m e nt is c orr e ct a n d

               c o nstit ut es a n a c c ur at e s y n o psis of m y e d u c ati o n, tr ai ni n g, a n d e x p eri e n c e.

       4.      D uri n g O ct o b er of 2 0 2 1 I c o n v ers e d wit h att or n e y J o n at h a n P M c C o y Es q o n s e v er al o c c asi o ns

               r e g ar di n g p ossi bl e e x a mi n ati o n of a b ull et ( pr oj e ctil e) r e c o v er e d d uri n g t h e i n v esti g ati o n of t h e

               a b o v e c a pti o n e d m att er. I s e nt Mr M c C o y a c o p y of m y C V.

       5.      I c o m m u ni c at e d t o Mr M c C o y t h at it w o ul d b e p ossi bl e t o disti n g uis h a pist ol b ull et fr o m a rifl e

               b ull et, a n d t h at mi cr os c o pi c e x a mi n ati o n c o ul d r es ult i n a s h ortlist of br a n ds a n d m o d els of

               fir e ar ms t h at c o ul d h a v e fir e d t h at b ull et.
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                                                 U NI T E D S T A T E S DI S T RI C T C O U R T
                                                     DI S T RI C T O F S O U T H D A K O T A
                                                             W E S T E R N DI VI SI O N


 U NI T E D S T A T E S O F A M E RI C A                                                  5: 2 0 - C R-5 0 1 2 2
                  Pl ai ntiff                                                   M O TI O N F O R CJ A F U N DI N G T O R E T AI N
                         v.                                                     F O R E N SI C FI R E A R M S A N D B A L LI S TI C S
                                                                                E XPE RT A N D O R DE R F O R E XPE RT
 KI M B E R L E E PI T A W A N A K W A T                                        A C C E S S T O T H E DI S C O V E R Y A N D
                 D ef e n d a nt                                                E VI D E N C E




 Ki m b erl e e Pit a w a n a k w at
 2 6 2 1 4 F ost er R o a d
 M o nr o e, O R 9 7 4 5 6
 ki m b erl e e. pit a n k wt @ g m ail. c o m

 T h e H o n or a bl e Ver o ni c a L. D uff y
 U nit e d St at es M a gistr at e J u d g e
 4 0 0 S. P hilli ps A v e n u e R o o m 1 1 9
 Si o u x F alls, S D 5 7 1 0 4.


 R e: M oti o n f or CJ A f u n di n g t o R et ai n F or e nsi c Fir e ar ms a n d B allisti cs E x p ert a n d Or d er F or D ef e ns e

 A c c ess t o t h e Dis c o v er y a n d E vi d e n c e :




                                       E X HI BI T B

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  Ki m b erl e e Pit a w a n a k w a
  2 6 21 4 F o st er R d.
   M o nr o e, O R 9 7 4 5 6
  st or mi. pit a w a n a k w at @ p m. m e


 1 7t h of     M ar c h, 2 0 2 3


  Dri s c oll L a w O ﬃ c e, P. C.

  Fr a n k Dri s c oll, L a w y er
 11 0 7 Mt, R u s h m or e R d. S uit e # 4 B
  P. O. B o x 2 21 6
  R a pi d Cit y, S D 5 7 7 0 9



  D e ar Fr a n k,

  H ell o,

    T hi s c a s e i s a h ar d s hi p o n m e a n d m y f a mil y. N ot h a vi n g g o o d c o m m u ni c ati o n
 i s a n a d diti o n al h ar d s hi p o n m e. W h y i s it i a m e x p e ct e d t o k e e p u p wit h t hi s
  c a s e wit h o ut a d e q u at e c o m m u ni c ati o n or i nf or m ati o n ? It h a s f or s ur e c a u s e d
   m e a n d m y f a mil y a d diti o n al u n n e c e s s ar y h ar d s hi p s t hr o u g h o ut t h e s e f e w
  y e ar s d uri n g t h e C o vi d p a n d e mi c c o n st a ntl y b ei n g si c k a n d g oi n g t hr o u g h
  e m oti o n al tr a u m a h a s h a d it s t oll o n m y h e alt h. I h a v e d o c u m e nt e d st at e m e nt s
 fr o m m y pri m ar y p h y si ci a n.

  Bri ef f oll o w u p:

  I h a v e n't h e ar d a n yt hi n g i n o v er a m o nt h a b o ut a n y pr o gr e s s o n m y c a s e wit h
 t h e di s c o v er y r e vi e w a n d t h e i n d e p e n d e nt d ef e n s e i n v e sti g ati o n. W h er e ar e
   w e wit h t h e di s c o v er y r e vi e w ? I h o p e all i s w ell wit h t h e r e vi e w of di s c o v er y ?
   H a v e y o u b e e n a bl e t o li st e n t o all t h e a u di o r e c or di n g s y et ? W h at ar e y o ur
 t h o u g ht s ? I n e e d t o k n o w m or e w h er e w e ar e at wit h o ur i n d e p e n d e nt
 i n v e sti g ati o n ? I a m r e q u e sti n g y o u p ut i n a r e q u e st t o o bt ai n a n d s e c ur e a
   D ef e n s e i n v e sti g at or t o h el p c o n d u ct i nt er vi e w s of p ot e nti al wit n e s s e s a n d t o
  pr o p erl y pr e p ar e f or tri al.

  H o p ef ull y w e ar e o n t h e s a m e p a g e s o o n. I a m r e s p e ctf ull y p utti n g it i n writi n g
  d at e d o n t hi s 1 8t h d a y of A pril of 2 0 2 3 i n h o p e s y o u will r e s p o n d a c c or di n gl y :

    M y f oll o w u p q u e sti o n s of t h e l a st f e w c o n v er s ati o n s w e h a d wit h w h at i
 l e ar n e d t h at n e e d s t o b e d o n e o v er t h e c o ur s e of ti m e o n m y c a s e d uri n g pr e
 tri al:
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         C a n y o u pl e a s e a s k t h e g o v er n m e nt / pr o s e c uti n g att or n e y t o b e m or e
        s p e ci ﬁ c a b o ut “ w h at t h e all e g e d f al s e st at e m e nt s ar e ?” W h at i s t h e
         G o v er n m e nt' s c a s e ? ? D o y o u h a v e a b ett er i d e a of w h at i s g oi n g o n
        h er e ? . I n e e d i n writi n g w h at t h eir c a s e i s ?



          H a v e y o u b e e n a bl e t o r e vi e w t h e I a n D ull K nif e a ut o st at e m e nt ?

              ●      H a v e y o u b e e n a bl e t o r e vi e w t h e ot h er t w o h a n d writt e n
                    st at e m e nt s D et e cti v e P u c k ett e all e g e dl y t o o k fr o m D a ni el
                     D ull K nif e a n d G u y Willi a m D ull K nif e d o c u m e nt e d i n t h e
                    di s c o v er y ? W h er e ar e t h o s e r e p ort s ?
              ●      Ar e t h e y c alli n g I a n D ul K nif e a n d t h e ot h er wit n e s s e s at tri al ?
              ●       A g ai n I a m a s ki n g a n d r e q u e sti n g t o hir e a n i n v e sti g at or o n m y
                    c a s e t o c o n d u ct a n i n d e p e n d e nt i n v e sti g ati o n s e p ar at e fr o m
                   t h e g o v er n m e nt s. It i s r e q uir e d a n d it i s d etri m e nt al t o a n
                    e ﬀ e cti v e d ef e n s e t e a m m a ki n g it e s s e nti al t o h a v e pr o p er
                    pr e p ar ati o n a n d d ef e n s e str at e gi e s i n pl a c e i n ti m e f or tri al.

                  I' m C o n c er n e d t o o m u c h ti m e i s g oi n g b y a n d n ot e n o u g h
                   gr o u n d c o v er e d i n ti m e b ef or e tr ail. W e n e e d a n i n v e sti g at or
                   a s si g n e d t o t hi s c a s e. ( I h a v e a n i n v e sti g at or/ e x p ert i n mi n d
                    w h o h a s e xt e n si v e e x p eri e n c e wit h p a g e s of c erti ﬁ c ati o n s t h at
                   q u alif y hi m t o d o s o. Hi s n a m e i s “J o h n Ni x o n” . I h a v e hi s
                   cr e d e nti al s t h at c a n b e pr o vi d e d. I k n o w h e w o ul d b e h a p p y t o
                  t al k wit h y o u. Mr. Ni x o n pr e vi o u sl y h a d b e e n i n c o nt a ct b y a n d
                  t hr o u g h m y Att or n e y J o h n at h a n M c C o y w h o b ot h w e nt o v er
                   a n d h a s l o o k e d at t h e 3 D i m a g e s i n t h e di s c o v er y. All t h e
                   e vi d e n c e n e e d s t o b e pr o p erl y t e st e d Mr. Ni x o n i s t h at p er s o n. I
                   c a n pr o vi d e hi s c o nt a ct s u p o n r e q u e st.

          T h er e i s a l ot J o h n Ni x x o n c a n d o. I H a v e q u e sti o n s a b o ut t h e m e di c al
        r e p ort a n d if t h er e w a s a t o xi c ol o g y t e st t a k e n t h at ni g ht.

          W h at w er e h er t o xi c ol o g y t e st s if s o ? T h e s p e nt b ull et t h e v e hi cl e of t h e
        all e g e d vi cti m s t h at w a s r el e a s e d b ef or e d ef e n s e h a d t h e o p p ort u nit y
       t o l o o k at w hi c h c o ul d b e gr o u n d s of di s mi s s al b a s e d o n o b str u cti o n of
        e vi d e n c e.

          C ar m e n B ur g e e st at e d i n t h e i nt er vi e w wit h K e vi n S e y m o ur t h at s h e
         gi v e s p er mi s si o n f or i n v e sti g ati o n p ur p o s e s t o r el e a s e a n y m e di c al
        r e c or d s. HI P A A s h o ul d n ot b e a pr o bl e m. T hi s w a s a l at e di s cl o s ur e t o
          m e I c o ul d h a v e u s e d i n m y s u p pr e s si o n h e ari n g a s I h a v e t h e ri g ht t o
         k n o w w h o m y a c c u s er s ar e. N ot e t hi s c o ul d h a v e al s o vi ol at e d m y d u e
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   I will n ot b e r u s h e d i nt o tri al m o vi n g f or w ar d u n pr e p ar e d. I n e e d t o b e m or e
  a w ar e of w h er e w e ar e i n t h e pr e-tri al pr o c e s s. T h er e i s a l ot y et t o b e d o n e
  a n d n ot hi n g h a s h a p p e n e d.

  I k n o w y o u ar e d oi n g y o ur b e st b ut t h er e i s still a l ot t o b e l e ar n e d h er e a n d
 t h e i nf or m ati o n i s n ot b ei n g pr o vi d e d.

  T h er e h a v e b e e n m a n y vi ol ati o n s a n d mi s st at e m e nt s d uri n g pr o c e e di n g s a n d
   mi sl e a di n g sit u ati o n s c a u si n g m e a n u nf air c h a n c e i n a n y pr o c e e di n g s wit h
  bi a s e d r e m ar k s t h at n o j u d g e or g o v er n m e nt o ﬃ ci al h a s t h e ri g ht vi ol at e d i n
  a n y w a y. I a m i n n o c e nt a n d r e g ar dl e s s of i n n o c e n c e d e s er v e t o b e tr e at e d
 f airl y i n a n y sit u ati o n..

  T h er e ar e m a n y t hi n g s w e c a n d o d uri n g pr e-tri al a n d n ot hi n g i s b ei n g d o n e at
 t hi s p oi nt..

  I h a v e li v e d i n t hi s st a g n a nt st at e f or j u st u n d er 3 y e ar s. Wit h i n di vi d u al s all
  w or ki n g t o c o n vi ct m e f or a cri m e I di d n ot c o m mit. It h a s ulti m at el y b e e n a
  mi s c arri a g e of j u sti c e.

  I n e e d t h e tr ut h t o b e t ol d. I n e e d a n e ﬀ e cti v e d ef e n s e t e a m a n d pr o p er
  c o m m u ni c ati o n i s a pill ar t o t h at t e a m. I a m b ei n g f or c e d t o st a n d tri al f or a
  cri m e I di d n ot h a v e a n y k n o wl e d g e t o o k pl a c e n or di d I c o m mit a cri m e t o
  gi v e t h e g o v er n m e nt t h e a ut h orit y t o r e g ul at e m e. T h eir st or y k e e p s c h a n gi n g.
   N o s e v er a n c e w a s h o n or e d s o all t h e c h ar g e s m y c o d ef e n d a nt w a s c h ar g e d
  o n c a n b e a p pli e d t o m y c h ar g e s if I a m c o n vi ct e d. J o n at h a n M c C o y t ol d m e
 t hi s a n d if it i s n ot tr u e h e mi sl e d m e. T hi s i s w h y t h e t e sti n g of t h e b ull et d o e s
  a p pl y t o m y c a s e if t h e y c o n vi ct e d m e m y c o d ef e n d a nt s c h ar g e s c a n b e
  a d d e d t o m y c h ar g e s. B y t e sti n g t h e b ull et it w o ul d ulti m at el y pr o v e t h at it di d
  n ot c o m e fr o m a n A R 1 5.

  I w o ul d li k e t o r e q u e st R e a s o n a bl e A c c o m m o d ati o n t o b e a bl e t o
  c o m m u ni c at e wit h y o u m or e e ﬀ e cti v el y vi a E m ail r e g ar di n g t h e di s c o v er y a n d
  a n y ot h er ur g e nt c o m m u ni c ati o n n e e d e d.. C o m m u ni c ati o n i s vit al. W e s h o ul d
  h a v e e v er y s o oft e n a vi d e o c o nf er e n c e of s o m e s ort ?

  I still h a v e s o m a n y q u e sti o n s a n d di s c o v er y t h at h a s n ot b e e n pr o vi d e d t o m e
  y et t h er e i s al ot wr o n g wit h t h e g o v er n m e nt' s c a s e t h at I a m w ell a w ar e of.

   m a n y di s cr e p a n c y i n m y di s c o v er y a n d wit h t h e r e vi e w of I si a h Cr o w' s b o d y
  c a m f o ot a g e t h at i s n ot a u dit a bl e y et t o d at e f or st art s. T hi s f o ot a g e h a s n ot
  b e e n a c c e s si bl e si n c e t h e v er y b e gi n ni n g of M ar c h 2 0 21. I h a v e c o nti n u e d t o
 r e q u e st t hi s b e pr o vi d e d t o m e a g ai n a n d a g ai n a n d still n ot hi n g.

  T hi s i s i m p ort a nt b e c a u s e I si a h Cr o w w a s ﬁr st o n s c e n e wit h t h e all e g e d
  vi cti m s. M c C o y r ef u s e d t o pr o vi d e m e wit h a n a u dit a bl e v er si o n s o I c o ul d vi e w
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  hi s b o d y c a m er a f o ot a g e. Mr M c C o y t ol d m e I w o ul d h a v e t o c o m e t o hi s o ﬃ c e
  b ut n e v er c o m m u ni c at e d wit h m e w h at t h e vi d e o c o n si st e d of or if h e w a s a bl e
 t o vi e w it t h e g o v er n m e nt i s o bli g at e d t o pr o vi d e a n a u di bl e v er si o n a n d h a s
  n ot t o m y k n o wl e d g e.

  I si a h Cr o w t o o k i n ci d e nt c o m m a n d o n t h e r o a d si d e of BI A 2 a p pl yi n g
  e m er g e n c y c ar e u ntil p ar a m e di c s c a m e aft er t h e all e g e d s h o oti n g t o o k pl a c e
  o n S e pt e m b er 1 7t h 2 0 2 0 h e w o ul d h a v e u s ef ul i nf or m ati o n a n d h e at of t h e
   m o m e nt ﬁr st c o nt a ct wit h all e g e d vi cti m C ar m e n B ur g e e.

  I a s s ert m y s elf i n h o p e s y o u d o n ot t a k e m y r e q u e st s wr o n g a n d i n r et ur n d o
 t h e ri g ht t hi n g pl e a s e d o t h e w or k t o g et m e t h e i nf or m ati o n.

     C a n y o u pl e a s e r e q u e st all p oli c e r e p ort s o n I a n D ull k nif e ? H e cl e arl y st at e s
 t h at h e s e e s G e or g e D ull K nif e h a n d m e a n A R1 5, w hi c h i s w h y it i s r el e v a nt t o
  h a v e t h e s p e nt b ull et t e st e d a n d pr o v e t h at it di d n ot c o m e fr o m a n A R1 5. I a n
   D ull k nif e h a d w arr a nt s o ut f or hi s arr e st d uri n g t h e s u m m er of 2 0 2 0 f or a g u n
  vi ol ati o n h e li e d a b o ut. A g ai n h e i s a wit n e s s t h at c o ul d b e c all e d b ut al s o a n y
 f a v or a bl e i nf or m ati o n a b o ut I a n D ull k nif e s cri mi n al r e c or d c o ul d f all u n d er t h e
   Br a d y r ul e.

 I t hi n k I a n D ull K nif e w a s gi v e n a d e al of s o m e s ort t o li e a n d h e s h o ul d b e h el d
  a c c o u nt a bl e a n d c h ar g e d wit h p erj ur y a n d a n y ot h er f al s e wit n e s s t e sti m o ni e s
  s u b mitt e d t o t h e gr a n d j ur y b y D et e cti v e P u c k ett e t hi s i s w h y it i s i m p ort a nt t o
  h a v e a c c e s s t o D er e k P u c k ett' s ﬁl e. L a stl y, I w a nt e d t o k n o w if y o u f o u n d o ut
   w h e n I c a n r e vi e w t h e gr a n d j ur y tr a n s cri pt s ? I h a v e r e a s o n t o b eli e v e t h at
 f al s e t e sti m o n y w a s i ntr o d u c e d a n d a ﬀ e ct e d t h e i n d e p e n d e nt d e ci si o n m a ki n g
  of t h e gr a n d j ur y. I' v e d o n e m y r e s e ar c h. I c o nt a ct e d t h e s u p eri or c o urt i n
  Pi err e a n d a s k e d t h e cl er k of c o urt s h o w t o pr o c e e d si n c e I a m b o u n d b y l e g al
  c o u n s el. I a m r e s p e ctf ull y a s ki n g y o u t o r e q u e st t hi s. It c a n b e d o n e
  b ef or e h a n d, n ot t w o w e e k s pri or t o tri al, t h at i s n ot e n o u g h ti m e t o g o o v er
 t hi n g s pr o p erl y. I c a n writ e a n d a s k t h e c o urt s m y s elf. T h er e i s n o r ul e t h at
  st at e s or pr e v e nt s m e fr o m d oi n g s o a n d I r ef u s e t o b e mi sl e d t hi n ki n g t h e
  o pti o n i s n ot a v ail a bl e u nl e s s y o u c a n pr o vi d e m e wit h o ﬃ ci al d o c u m e nt s
  st ati n g t h e di ﬀ er e n c e. T h a n k y o u f or y o ur ti m e a n d c o n si d er ati o n t o t h e s e
   m att er s a n d I l o o k f or w ar d t o h e ari n g b a c k fr o m y o u s o o n.



  Si n c er el y & R e s p e ctf ull y,

  Ki m b erl e e S. Pit a w a n a k w at

  st or mi. pit a w a n a k w at @ p m. m e
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                                                 U NI T E D S T A T E S DI S T RI C T C O U R T
                                                     DI S T RI C T O F S O U T H D A K O T A
                                                             W E S T E R N DI VI SI O N


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                         v.                                                     F O R E N SI C FI R E A R M S A N D B A L LI S TI C S
                                                                                E XPE RT A N D O R DE R F O R E XPE RT
 KI M B E R L E E PI T A W A N A K W A T                                        A C C E S S T O T H E DI S C O V E R Y A N D
                 D ef e n d a nt                                                E VI D E N C E




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 ki m b erl e e. pit a n k wt @ g m ail. c o m

 T h e H o n or a bl e Ver o ni c a L. D uff y
 U nit e d St at es M a gistr at e J u d g e
 4 0 0 S. P hilli ps A v e n u e R o o m 1 1 9
 Si o u x F alls, S D 5 7 1 0 4.


 R e: M oti o n f or CJ A f u n di n g t o R et ai n F or e nsi c Fir e ar ms a n d B allisti cs E x p ert a n d Or d er F or D ef e ns e

 A c c ess t o t h e Dis c o v er y a n d E vi d e n c e :




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Athena Research & Consulting LLC
PO Box 66, Bippus, Indiana 46713, USA.
Tel 260 344 1314


                                                 ESTIMATE
Client:-           Kimberlee Pitawanakwat                                Estimate Date:- 13 June 2023
                   South Dakota

                                                                         ARC Tax ID:-      35 214 1449

Case Reference:- US v Kimberlee Pitawanakwat Case # 5:20-CR-50122
                                                                            Duration         Rate        Total
                                 Activity                                    (hours)       ($ / unit)      $
                                                                                                             0.00
Examine one recovered projectile. Examination to include unpackaging,               3.00     395.00      1185.00
Photography, microscopic exam, measurements, weight. Repackage.                                              0.00
Identify brands and models of firearm that could have discharged                    2.00     395.00       790.00
projectile                                                                                                   0.00
Research and produce illustrated written report                                     4.00     395.00      1580.00
Return shipping via FedEx insured                                                                           30.00
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                                                                       Kimberlee Pitawanakwat <kimberlee.pitankwt@gmail.com>



          20-50122-02. authorization for ballistics expert
          5 messages

          Shaunna Tellinghuisen <Shaunna_Tellinghuisen@sdd.uscourts.gov>                                 Mon, Jun 26, 2023 at 3:52 PM
          To: "kimberlee.pitankwt@gmail.com" <kimberlee.pitankwt@gmail.com>


            Good Afternoon,



            Your authorization for ballistics expert has been approved.



            Please have the expert complete and return the attached vendor form to me via email. I will then add them as a
            vendor to our eVoucher system.



            In addition, it is important keep in contact with your expert to ensure that they do not exceed the amount that they are
            approved for.



            The expert will need to submit a signed invoice. Once you receive that invoice, please email it to me and I will get it
            entered into the system so the expert can be paid.




             2 attachments
                  Approved Auth.pdf
                  136K
                  CJA Vendor Form REV 2018.pdf
                  129K


          Kimberlee Pitawanakwat <kimberlee.pitankwt@gmail.com>                                          Mon, Jun 26, 2023 at 3:59 PM
          To: Shaunna Tellinghuisen <Shaunna_Tellinghuisen@sdd.uscourts.gov>



1 of 3                                                                                                                          8/2/2023, 5:25 PM
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               Case 5:20-cr-50122-LLP Document 252-2 Filed 08/02/23 Page 38 of 41 PageID #: 1365

            Thank you, will do.

            Respectfully,

            Kimberlee Pitawanakwat
            [Quoted text hidden]


             2 attachments


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                                                           81K




                                                           image001.png
                                                           81K




          Kimberlee Pitawanakwat <kimberlee.pitankwt@gmail.com>                                      Tue, Jun 27, 2023 at 9:29 AM
          To: Galileo25@frontier.com

            [Quoted text hidden]


             2 attachments


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                                                           81K




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                                                           81K




          Kimberlee Pitawanakwat <kimberlee.pitankwt@gmail.com>                                      Wed, Jul 19, 2023 at 4:26 PM
          To: Shaunna Tellinghuisen <Shaunna_Tellinghuisen@sdd.uscourts.gov>

            Shaunna,

            Thank you, attached please find Mr. Nixon's completed vendor form. Please let me know if there is anything
            additional you need from me.

            Respectfully,

            Kimberlee Pitawanakwat
            [Quoted text hidden]


                  Completed Signed Vendor Form.PDF
                  436K


          Shaunna Tellinghuisen <Shaunna_Tellinghuisen@sdd.uscourts.gov>                              Thu, Jul 20, 2023 at 9:18 AM



2 of 3                                                                                                                     8/2/2023, 5:25 PM
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               Case 5:20-cr-50122-LLP Document 252-2 Filed 08/02/23 Page 39 of 41 PageID #: 1366
          To: Kimberlee Pitawanakwat <kimberlee.pitankwt@gmail.com>


            Thanks! We will get them added to the eVoucher system.




            From: Kimberlee Pitawanakwat <kimberlee.pitankwt@gmail.com>
            Sent: Wednesday, July 19, 2023 5:26 PM
            To: Shaunna Tellinghuisen <Shaunna_Tellinghuisen@sdd.uscourts.gov>
            Subject: Re: 20-50122-02. authorization for ballistics expert




             CAUTION - EXTERNAL:

            [Quoted text hidden]


             CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
             attachments or clicking on links.




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                                        MEMORANDUM

    TO:            Judge Lavenski R. Smith, Chief Judge                Date: 6/14/2023
                   United States Court of Appeals for the Eighth Circuit

    FROM:          Kimberlee Pitawanakwat, Pro Se Defendant

    SUBJECT:       Advance Authorization for Expert or Investigative Services

           It is requested that advance authority be granted to obtain services in an amount
    in excess of the maximum allowed under the provisions of subsection (e)(3) of the
    Criminal Justice Act (18 U.S.C. § 3006A) as follows:

    Case Name and Designation:           USA v. Kimberlee Pitawanakwat
                                         CR 50122-02

    Name of Expert or Investigator: John Nixon
    Address: P.O. Box 66, Bippus, Indiana 46713

    Type of Expert: Forensic Firearms/ballistics

    Hourly rate:   395

    Detailed and Specific Reasons for Application:

    Please see the detailed 30 page Motion Filed in the Case docket. In summary, in order
    to prepare for trial Defendant's needs the services of an expert to test a spent bullet
    located in alleged victim's vehicle. This spent bullet has not been previously been tested
    but is alleged to have come from an AR15 rifle, which a witness alleges was handed to
    Defendant. In order to challenge that testimony Defendant needs a qualified expert to
    examine the spent bullet and determine whether it came from an AR15 or potentially a
    different weapon. Mr. Nixon has looked at pictures of the bullet and his preliminary
    opinion is that it looks more like pistol ammunition but needs access to the evidence in
    order to better examine the evidence visually and using microscopy. Mr. Nixon is an
    extremely well qualified expert as can be seen from his CV and has already been
    consulted about this case and the testing delayed from October, 2021, because of
    deficiencies with prior court appointed counsel. Mr. Nixon's previous estimate was
    significantly higher, but he can reduce costs by having the spent bullet securely shipped
    to his evidence locker, assuming the Government is willing to permit such.

    Estimated Total Compensation/Fee: $3,585




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